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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES —- GENERAL

Case No. CV 20-05726 PSG (PVCx) Date: January 23, 2023
Title Samantha Shafer, et al. v. Red Tie, LLC dba Red Tie Gentlemen’s Club, et al.

Present: The Honorable Pedro V. Castillo, United States Magistrate Judge

Marlene Ramirez None
Deputy Clerk Court Reporter / Recorder
Attorneys Present for Plaintiffs: Attorneys Present for Defendants:
None None

PROCEEDINGS: [CHAMBERS] ORDER (1) PARTIALLY AWARDING
DEFENDANTS’ FEES AND COSTS FOR PLAINTIFFS’
COUNSEL’S FAILURE TO APPEAR AT JUDGMENT
DEBTOR EXAMINATIONS; AND (2) VACATING HEARING
RE: SANCTIONS SET FOR JANUARY 24, 2023 AT 10:00 AM

On January 18, 2023, the Court issued an order tentatively awarding Defendants
the fees and costs they incurred as a result of Plaintiffs’ counsel’s failure to appear at the
January 12, 2023 judgment debtor examinations set for three judgment debtors in the
above-referenced action, reduced by 25% for the unexplained failure of one of the
judgment debtors to timely appear. (“Order,” Dkt. No. 179). Pursuant to the Order, if
Plaintiffs’ counsel submitted on the tentative and paid Defendants’ counsel the adjusted
amount of $502.50 by January 23, 2023, the tentative order would become final and the
hearing previously scheduled for January 24, 2023 would be taken off calendar. (/d. at
3).

Plaintiffs’ counsel filed a Notice of Payment on January 22, 2023, supported by
the declaration of John Kristensen and attached exhibits. (“Notice,” Dkt. No. 180). The
Notice affirmed that Plaintiffs’ counsel had written and mailed a check in the amount of
$502.50 to Defendants’ counsel’s firm pursuant to the Court’s Order. (/d. at 2).

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Accordingly, the Court’s tentative award of $502.50 to Defendants’ counsel for
Defendants’ fees and expenses is now final. The January 24, 2023 hearing is hereby
VACATED as moot. No appearance by any party is required.

IT ISSO ORDERED.

00:00
Initials of Preparer mr

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